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               Exhibit 1
11/11/2018              Case 1:18-cv-02610-TJK
                                       Donald Trump: IDocument       2-8outFiled
                                                      won't kick reporters of White11/13/18      Pageroom
                                                                                    House press briefing 2 of 4

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      Donald Trump: I won't kick reporters out of
      White House press brieﬁng room
                by Brian Stelter @brianstelter
                   June 14, 2016: 10:09 PM ET
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        Why Donald Trump needs the media


      While Donald Trump's campaign is refusing to give press credentials to reporters from The
      Washington Post and several other news outlets, he says the ban will not remain in e ect if he is
      elected.

      At the White House, "it's a di erent thing," Trump told CNN in a telephone interview Tuesday
      night.
                                                                                                             Paid Content                       by O


      He repeatedly said he would not try to revoke any press credentials if elected president.                                 Easy Sheet Pa
                                                                                                                                Recipes
      "In my case, I'm a person running for o ce. I rent these large arenas... so I have an option" to                          The New York Times

      deny access to members of the media, Trump said. "When I'm representing the United States, I
      wouldn't do that. But I would let people know if somebody's untruthful."
                                                                                                                                A Fast Way To
                                                                                                                                $10,000 In Cre
      Questions have arisen about Trump's hypothetical treatment of the White House press corps                                 Debt
                                                                                                                                NerdWallet
      because his campaign has blocked reporters from BuzzFeed, Politico, Univision and other
      outlets from receiving press credentials.
                                                                                                                                [Photos] 60 Vin
      The credentials provide recognition that a person is attending as a member of the media and                               Photos That W
      provide special access at rallies and other events.                                                                       Allowed In…
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      Journalists are not able to attend Trump press conferences without credentials.
                                                                                                                                54 Rare Photo
                                                                                                                                Caution Major
      On Monday, Trump's treatment of the press gained new scrutiny when he announced that he                                   Nostalgia Ahea
      was "revoking" The Post's credentials.                                                                                    History Daily




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      Related: Trump blocks The Washington Post
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      Trump told CNN on Tuesday night that he has not spoken with Post editor Marty Baron about the                              Is the stronges
      ban yet.                                                                                                                   growth behind


      Others at the newspaper have tried to contact Trump, but he said "I don't want to say what they
      are" doing.                                                                                                                Analyst: Investo
                                                                                                                                 should prepare
                                                                                                                                 more years of
      When asked what the newspaper would have to do to regain press access, Trump said, "All I
      want is to be treated fairly."

      He added, "By the way, if I have a bad story, that's okay, if it's true. If I deserve it. You know, I'll   CNNMoney Sponsors
      deserve bad stories on occasion. Hopefully not too often."

      Asked to name a time he has deserved a "bad story," Trump declined.

      Will Trump continue to give interviews to Post reporters like Robert Costa, whom he said he
      respects?

                                                                                                                 SmartAsset                    Pa
      "I have not given it any thought at this moment," Trump said.
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      Related: Here are the media outlets on Trump's "blacklist"

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      Trump's action against The Post was prompted, at least in part, by a Monday morning web
      headline that said "Donald Trump suggests President Obama was involved with Orlando
      shooting."                                                                                                 Compare the Top 3 Financial
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      "I never said anything like that. I never implied anything like that," Trump said, adding, "for them
      to imply it is a disgrace."                                                                                Is a Money Market Account or
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      The headline was triggered by this comment that Trump made on Fox News: "Look, we're led by
      a man that either is not tough, not smart, or he's got something else in mind... There's something
      going on. It's inconceivable. There's something going on."                                                 NextAdvisor                   Pa


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      On Tuesday night, he explained the "something going on" comment this way: "I'm just asking,
                                                                                                                 Until Nearly 2020
      why doesn't he get tougher on the terrorists?"

      The Post headline was later adjusted to say "Donald Trump seems to connect President Obama                 Transferring Your Balance to a
      to Orlando shooting."                                                                                      Month 0% APR is Ingenious


      The reporter who wrote the story, Jenna Johnson, attended Trump's Tuesday night rally in North             The Top 7 Balance Transfer C
      Carolina as a member of the general public. Trump's audience loudly cheered when he talked                 Cards On The Market Today
      about his ban of the "dishonest" Post.
                                                                                                                 Get $300 Back With This
      Trump had more positive things to say about the media during the phone interview with CNN                  Outrageous New Credit Card
      right afterward.

      "Just so you understand, I have great respect for professionals in your profession, in your
      business, in your world," he said. "I have great respect. There are many I have such great respect
      for. It's something really to be admired. But when people write false stories; when they write lies;
      when they write stories that have no bearing on the truth; when they say things that are so
      wrong, and they know they're wrong, and they tell me that they know they're wrong, but they
      refuse to change them, then I say, they're not going to come anymore."




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      A wide array of news media advocates have criticized Trump for placing restrictions on news
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      outlets, and some have suggested that it could have a chilling e ect on other coverage.                                      Where interest
      In the wake of the Post ban, Brian Smith of the Des Moines Register wondered via Twitter, "Will a                            meets intent
      Trump White House even have a brieﬁng room?" Eliza Collins of USA Today asked, "What would
      the brieﬁng room look like under Trump admin?"                                                                               Find your
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                                                                                                                                   'impossible'
                                                                                                                                        AUDIENCES
      Trump's answer on Tuesday was that it would look the same as it does now -- although he                                      audience
      asserted that the press corps goes too easy on President Obama.                                                              segment
      "Whoever chooses the people that get the press credentials, I wouldn't even tamper with that,                                        Advertisement
      frankly," he said. "It's a much di erent situation than what I'm doing right now."

      CNNMoney (New York)
      First published June 14, 2016: 9:55 PM ET




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